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                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                 FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                                       Case Number: 2:21-cr-116-TPB-NPM

LARRY ALAN GOLDMAN                                                       USM Number: 81061-509

                                                                         Benjamin Stechschulte, Retained
                                                                         1105 W. Swann Ave
                                                                         Tampa, FL 33606

                                             JUDGMENT IN A CRIMINAL CASE
Defendant pleaded guilty to Count One of the Information. Defendant is adjudicated guilty of this offense:

                                                                                             Date Offense            Count
            Title & Section                             Nature of Offense                     Concluded            Number(s)

      18 U.S.C. §§ 922(a)(1)(A),               Dealing in Firearms without a License        October 2, 2021            One
       923(a), and 924(a)(1)(D)

Defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change
in the defendant’s economic circumstances.

                                                                Date of Imposition of Judgment:

                                                                May 20, 2022




                                                                ______________________________________
                                                                THOMAS P. BARBER
                                                                UNITED STATES DISTRICT JUDGE

                                                                May 27, 2022
»




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                                                   IMPRISONMENT

        Defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of 12 months and 1 day.

         The Court makes the following recommendations to the Bureau of Prisons:

                  Incarceration at FCI Coleman or FCI Miami.




         Defendant shall surrender to the United States Marshal for this district on June 20, 2022.




                                                        RETURN
I have executed this judgment as follows:




Defendant delivered on ____________________ to ______________________________________


at _________________________________________________, with a certified copy of this judgment.



                                                                _______________________________________________
                                                                           UNITED STATES MARSHAL


                                                          By: ________________________________________________
                                                                              Deputy U.S. Marshal




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                                                    SUPERVISED RELEASE
         Upon release from imprisonment, you will be on supervised release for a term of 2 years.


                                                   MANDATORY CONDITIONS
1.       You must not commit another federal, state or local crime.
2.       You must not unlawfully possess a controlled substance.
3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15
         days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            • The above drug testing condition is suspended, based on the court’s determination that you pose a low
                 risk of future substance abuse.

        The defendant shall comply with the standard conditions that have been adopted by this court as well as any other
conditions on the attached page.




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                                     STANDARD CONDITIONS OF SUPERVISION
As part of Defendant’s supervised release, Defendant must comply with the following standard conditions of supervision.
These conditions are imposed because they establish the basic expectations for Defendant’s behavior while on
supervision and identify the minimum tools needed by probation officers to keep informed, report to the court about, and
bring about improvements in Defendant’s conduct and condition.

1.       Defendant must report to the probation office in the federal judicial district where Defendant is authorized to reside
         within 72 hours of Defendant’s release from imprisonment, unless the probation officer instructs Defendant to report
         to a different probation office or within a different time frame.
2.       After initially reporting to the probation office, Defendant will receive instructions from the court or the probation
         officer about how and when Defendant must report to the probation officer, and Defendant must report to the
         probation officer as instructed.
3.       Defendant must not knowingly leave the federal judicial district where Defendant is authorized to reside without first
         getting permission from the court or the probation officer.
4.       Defendant must answer truthfully the questions asked by Defendant’s probation officer
5.       Defendant must live at a place approved by the probation officer. If Defendant plans to change where Defendant
         lives or anything about Defendant’s living arrangements (such as the people Defendant lives with), Defendant must
         notify the probation officer at least 10 days before the change. If notifying the probation officer in advance is not
         possible due to unanticipated circumstances, Defendant must notify the probation officer within 72 hours of
         becoming aware of a change or expected change.
6.       Defendant must allow the probation officer to visit Defendant at any time at Defendant’s home or elsewhere, and
         Defendant must permit the probation officer to take any items prohibited by the conditions of Defendant’s
         supervision that the probation officer observes in plain view.
7.       Defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation
         officer excuses Defendant from doing so. If Defendant does not have full-time employment Defendant must try to
         find full-time employment, unless the probation officer excuses Defendant from doing so. If Defendant plans to
         change where Defendant works or anything about Defendant’s work (such as Defendant’s position or Defendant’s
         job responsibilities), Defendant must notify the probation officer at least 10 days before the change. If notifying the
         probation officer at least 10 days in advance is not possible due to unanticipated circumstances, Defendant must
         notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.       Defendant must not communicate or interact with anyone Defendant knows is engaged in criminal activity. If
         Defendant knows someone has been convicted of a felony, Defendant must not knowingly communicate or interact
         with that person without first getting the permission of the probation officer.
9.       If Defendant is arrested or questioned by a law enforcement officer, Defendant must notify the probation officer
         within 72 hours.
10.      Defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous
         weapon (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death
         to another person, such as nunchakus or tasers).
11.      Defendant must not act or make any agreement with a law enforcement agency to act as a confidential human
         source or informant without first getting the permission of the court.
12.      If the probation officer determines that Defendant poses a risk to another person (including an organization), the
         probation officer may require Defendant to notify the person about the risk and Defendant must comply with that
         instruction. The probation officer may contact the person and confirm that Defendant has notified the person about
         the risk.
13.      Defendant must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.


Defendant’s Signature:                                                               Date:


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                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1.       Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or making an
         obligation for any major purchases without approval of the Probation Officer. Defendant shall provide the probation
         officer access to any requested financial information.

2.       Defendant shall provide the probation officer access to any requested financial information.

3.       The mandatory drug testing requirements of the Violent Crime Control Act are suspended. The Court orders the
         defendant to submit to random drug testing not to exceed 104 tests per year.

4.       Defendant shall cooperate in the collection of DNA, as directed by the Probation Officer.




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                                                CRIMINAL MONETARY PENALTIES
       Defendant shall pay the following total criminal monetary penalties under the schedule of payments set forth in
the Schedule of Payments.
                      Assessment               AVAA Assessment 1                JVTA Assessment 2     Fine           Restitution

TOTALS                   $100.00                         $0.00                           $0.00      $25,000.00          $0.00

                                                      SCHEDULE OF PAYMENTS
            Special assessment shall be paid in full and is due immediately.

            Having assessed Defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program,
are made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United States attorney.

Defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10)
costs, including cost of prosecution and court costs.




1
    Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
2
    Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

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